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 9
                      UNITED STATES DISTRICT COURT
10               IN THE SOUTHERN DISTRICT OF CALIFORNIA
11
12
     STEPHANIE STEVENS-KAHN,                 Case No.: 3:21-cv-01515-BTM-MSB
13
14               Plaintiff,
                                             JOINT MOTION OF DISMISSAL
15         v.                                WITH PREJUDICE
16
17
     CAPITAL ONE BANK (USA), N.A.,
18
19               Defendant.
20
21
22
23         Pursuant to Federal Rule of Civil Procedure 41, Stephanie Stevens-Kahn
24
     and Defendant Capital One Bank (USA), N.A. (“Capital One”), by and through
25
26   undersigned counsel, hereby stipulate that this action and all claims asserted
27
     therein be dismissed with prejudice.
28
     Case 3:21-cv-01515-BTM-MSB Document 10 Filed 12/08/21 PageID.53 Page 2 of 2




 1         Respectfully submitted this 8th day of December 2021.
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11
12                            CERTIFICATE OF SERVICE
13
           I hereby certify that on December 8, 2021, I electronically filed the foregoing
14
15   with the Clerk of the Court using the ECF system, which will send notice of such
16
     filing to all attorneys of record in this matter. Since none of the attorneys of record
17
18   are non-ECF participants, hard copies of the foregoing have not been provided via
19
     personal delivery or by postal mail.
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21                                                  PRICE LAW GROUP, APC
22                                                  /s/ Roxanne Harris
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